Case 2:21-cv-07854-RSWL-MAR Document 10 Filed 10/08/21 Page 1of1 Page ID #:26

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

Case No. 2:21-cv-07854-RSWL-MARx Date October 8, 2021
Title Jong Ja Kim v. 6228 Franklin, LLC et al.
Present: The RONALD S.W. LEW, Senior U.S. District Judge
Honorable

Catherine Jeang Not Present

Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not Present Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE EXERCISE OF

SUPPLEMENTAL JURISDICTION RE STATE LAW CLAIMS

The Court ORDERS Plaintiff to SHOW CAUSE in writing why the Court should exercise
supplemental jurisdiction over the Unruh Act and other state law claims asserted in the Complaint.

Plaintiff shall file a Response to this Order to Show Cause by no later than October 18, 2021.

Failure to timely or adequately respond to this Order to Show Cause may, without further
warning, result in the dismissal of the entire action without prejudice or the Court declining to exercise
supplemental jurisdiction over the state law claims and the dismissal of those claims pursuant to 28
U.S.C. § 1367(c).

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Initials of Preparer CMJ

 

 

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 1
